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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

                                   Case No. 3:20-cv-799-WMC

DEBORAH LAUFER, individually,

       Plaintiff,

v.

CARRIER ACCOMMODATIONS, LLC,
d/b/a Seagull Bay Motel

      Defendant.
______________________________________/

          NOTICE OF CHANGE OF ATTORNEY OF RECORD WITHIN FIRM
                 AND MOTION TO WITHDRAW AS ATTORNEY

       Kathy L. Houston, Esq., formerly of counsel to Thomas B. Bacon, P.A., pursuant to the

applicable Federal Rules of Civil Procedure, hereby gives notice that she is no longer of counsel

with the firm of Thomas B. Bacon, P.A., and requests that this Court relieve her of any further

professional responsibility for this matter on behalf of the Plaintiff, Deborah Laufer.

       Attorney Thomas B. Bacon has entered a Notice of Appearance and will continue to be

counsel of record for the Plaintiff, Deborah Laufer, and should continue to receive all future

pleadings and correspondence at Thomas B. Bacon, P.A., at the address and email listed below. A

proposed Order is attached as Exhibit 1.

Respectfully Submitted,

Kathy L. Houston, Esq.                                       Thomas B. Bacon, P.A.
15321 S. Dixie Highway, Suite 205                            4369 Lake Road
Miami, FL 33157                                              Williamson, NY 114589
Tel: 305-420-6609 - Fax: 786-441-4416                        Tel: 954-478-7811
Email: CourtDocs@HoustonLawFL.com                            Email: tbb@thomasbaconlaw.com

By:       /s/ Kathy L. Houston            .                  Thomas B. Bacon, Esq.
Kathy L. Houston, Esq. Florida Bar No. 56042
       Case: 3:20-cv-00799-wmc Document #: 15 Filed: 09/06/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was served on parties of record via the Court’s
CM/ECF system this 6th day of September, 2021 and to:

       Carrier Accommodations, LLC, c/o Mollie K. Carrier, as Registered Agent, 325 S. 7th
       Street, Bayfield, WI 54814-4799

                                                            By:      Kathy L. Houston, Esq.      .
